 Case 21-60327     Doc 243     Filed 05/23/23 Entered 05/23/23 11:59:20
                                Document     Page 1 of 1                    EOD
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                                                                            05/23/2023

                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

IN RE:                                    §
                                          §
WING DINGERS TEXAS, LLC                   §             Case No. 21-60327
xx-xxx5462                                §
700 NW Loop 564, Mineola, TX 75773        §
                                          §
                     Debtor               §             Chapter 11 - Subch. V

                                     FINAL DECREE

       On April 3, 2023, an Application For Final Decree (the "Application") was filed
by Wing Dingers Texas, LLC, the successful Plan Proponent in the above-referenced
case. The Court finds that the Application was properly served pursuant to the Federal
and Local Rules of Bankruptcy Procedure and that it contained the appropriate negative
notice language pursuant to LBR 9007. The Court further finds that the sole objection to
the Application filed by the United States Trustee has been withdrawn and thus the
allegations in the Application, supporting the assertion that this case has been fully
administered, stand unopposed. The Court, being unaware of any circumstance which
would preclude the closing of this case, finds that just cause exists for the entry of the
following order.

      IT IS THEREFORE ORDERED that the Chapter 11 reorganization case for the
above-referenced Debtor is hereby CLOSED.

                                      Signed on 05/23/2023




                                      THE HONORABLE JOSHUA P. SEARCY
                                      UNITED STATES BANKRUPTCY JUDGE
